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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

                                  MEMORANDUM

Honorable Morrison C. England, Jr.
United States District Judge
Sacramento, California


                                   RE:    Bryant JACOBS
                                          Docket Number: 2:05CR00125-07
                                          WITHDRAWAL OF PETITION

Your Honor:

It is respectfully requested that the petition filed on November 1, 2006, on the above
named supervised releasee, be dismissed and taken off the court’s calendar of March 13,
2007, at 8:30 a.m.

On October 24, 2006, the undersigned submitted a petition to the court alleging a violation
of the offender’s condition of supervised release. The petition contained one violation, that
being the releasee’s failure to participate and complete a 120-day residential drug
treatment program. He was ordered to participate in the drug treatment program following
his admission to a previous violation petition. The court ordered him into the drug
treatment program on September 5, 2006.

Since the releasee left the drug treatment program on October 18, 2006, he has not
incurred any further violations of his conditions of supervised release. He is presently
enrolled in the Probation Office’s contract urinalysis testing and counseling program in
Vallejo, California. He is not showing signs of illegal drug use and is participating in
counseling offered through the program. The releasee is currently employed.

The releasee is presently compliant with all conditions of supervised release. His short
participation in the residential treatment program and his subsequent court appearance
before Your Honor have made an impact and he appears to be drug free. He is working
and taking care of his responsibilities in the community. Because of this, the undersigned
feels that it is appropriate to dismiss the petition and allow Mr. Jacobs to remain in the
community free of adverse sanctions at this time. We are recommending that the court
approve this plan and so note by following the recommendation.




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RE:          Bryant JACOBS
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             WITHDRAWAL OF PETITION


                               Respectfully submitted,

                                /s/Glenn P. Simon
                                GLENN P. SIMON
                          United States Probation Officer

DATED:       March 7, 2007
             Sacramento, California
             GPS/cp


REVIEWED BY:       /s/Kyriacos M. Simonidis
                   KYRIACOS M. SIMONIDIS
                   Supervising United States Probation Officer




ORDER OF THE COURT:

Approved XXX                    Disapproved



 Dated: March 8, 2007


                                         ______________________________
                                         MORRISON C. ENGLAND, JR.
                                         UNITED STATES DISTRICT JUDGE




cc:   Camil A. Skipper
      Assistant United States Attorney
      Erin Radekin
      Defense Counsel




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                                                                          MEMO.MRG
